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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, ET AL.,  )
                                    )
           Plaintiffs,              )
                                    )           CV No. 20-3010
        vs.                         )           Washington, D.C.
                                    )           April 24, 2024
 GOOGLE LLC,                        )           3:15 p.m.
                                    )
           Defendant.               )
 ___________________________________)


              TRANSCRIPT OF ORAL RULING PROCEEDINGS
                BEFORE THE HONORABLE AMIT P. MEHTA
                   UNITED STATES DISTRICT JUDGE

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 Proceedings recorded by mechanical stenography; transcript
 produced by computer-aided transcription
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                                                                              4

1                             P R O C E E D I N G S

2                THE COURT:     Good afternoon, everyone.         Please be

3     seated.

4                COURTROOM DEPUTY:       We are on the record with Civil

5     Case 20-3010, United States of America, et al., versus

6     Google LLC.

7                Speaking for the plaintiff in the courtroom, we

8     have Kenneth Dintzer, David Dahlquist, Karl Herrmann, and

9     Sarah Trent.

10               Via Zoom, we have Mr. Jonathan Sallet.

11               For the defense, we have John Schmidtlein and

12    Graham Safty.    They are both here in the courtroom,

13    Your Honor.

14               THE COURT:     Okay.    Good afternoon, everybody.

15    It's nice to see everyone.        So I appreciate you being

16    available on short notice.

17               As promised, we have gone through the documents

18    that have been identified by The New York Times, the

19    exhibits that were entered into evidence as to which there

20    continue to be objections, as well as -- and we'll talk

21    about the parties' post-trial submissions in a moment.

22               But the purpose of this afternoon is to read into

23    the record my ruling with respect to the records that are

24    subject to The Times decision, and then we'll talk about the

25    parties' post-trial submissions.
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                                                                                  5

1                So bear with me; some of this is fairly detailed.

2                And we will post this written script on the docket

3     to help you all out, but I didn't want to just post this on

4     the docket without putting it all on the formal record.                So

5     bear with me; this will take a couple minutes.

6                So before the Court is a motion for access for

7     judicial records filed by intervenor The New York Times

8     Company, which seeks a more fulsome public release of

9     29 trial exhibits in this matter.       The Times argues that

10    disclosure of these records is warranted under the

11    six-factor test set forward by the D.C. Circuit in

12    United States versus Hubbard.      It contends that the records

13    carry a strong presumption of access and that many of them

14    contain information that is dated or has been revealed

15    elsewhere, diminishing any privacy interests or prejudice

16    that would result from disclosure.

17               The Court will begin by summarizing the process

18    that it ordered with respect to disclosure of trial

19    exhibits, then articulate the legal principles that govern

20    this motion, and conclude with its analysis of the disputed

21    records.

22               The Court has entered numerous orders regarding

23    the confidentiality of trial evidence.

24               On August 15th of 2023, prior to trial, the Court

25    entered the parties' stipulated order on the use of
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                                                                             6

1     confidential information at trial.        That order, among other

2     things, directed the parties to endeavor to prepare their

3     presentations and examinations to maximize keeping the

4     courtroom open.    The Court also directed the parties to

5     attempt to resolve any confidentiality disputes within

6     48 hours or otherwise bring them before the Court.

7                On August 28th of 2023, the Court entered a

8     Pretrial Order clarifying that, "Ultimately, the 'record'

9     that will be the focus of the Court's decision-making will

10    be the trial testimony, exhibits, and deposition

11    designations cited in the parties' proposed findings of

12    facts and conclusions of law."

13               Then on September 4th of 2023 and pursuant to the

14    Pretrial Conference held on September 1, the Court ordered

15    the parties to meet and confer to resolve outstanding

16    disputes as to the confidentiality of exhibits to be used in

17    the plaintiffs' case.

18               The purpose of these aforementioned orders was,

19    one, to minimize the need for closed trial testimony and to

20    discuss confidential matters; and, two, to promote efficient

21    preparation and presentation of trial evidence, including

22    identifying and promptly resolving disputes over

23    confidentiality designations.

24               Trial began on September 12th of 2023.

25    On October 25th of 2023, the Court issued an order directing
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                                                                             7

1     Google to disclose to plaintiffs any exhibit in its

2     case-in-chief that it believed contained confidential

3     information 48 hours in advance of the exhibit's

4     presentation.    This order too was an effort to resolve any

5     potential confidentiality disputes.

6                Four weeks into trial, on October 16th of 2023,

7     The Times sought intervention to increase public access to

8     the trial exhibits and testimony.       The Court granted in part

9     and denied in part the relief requested, and entered a

10    supplemental order.     That order created a process for the

11    press to request and receive trial records, including those

12    containing Google's and third-party confidential

13    information, which were the subject -- which were otherwise

14    subject to redactions.

15               Following trial, The Times filed the instant

16    motion to unseal additional trial exhibits that it had not

17    received pursuant to the aforementioned process.            The

18    parties and non-parties whose information was implicated in

19    these records filed responses stating their positions.

20               Around the same time, the parties set forth their

21    positions as to a process for posting public, redacted

22    versions of their voluminous post-trial filings.

23               On March 11th of 2024, the Court convened the

24    parties, non-parties, and The Times to discuss both

25    The Times' motion and the redactions to post-trial filings.
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1                After hearing from all interested parties, the

2     Court instituted an expedited process to resolve

3     confidentiality disputes related to both the post-trial

4     filings and the exhibits requested by The Times so that

5     those issues could be decided before closing arguments.

6     That process required Google and third parties to meet and

7     confer with The Times regarding the scope and justification

8     for proposed redactions to the requested records.

9     The Times, parties, and relevant third parties then

10    submitted updated position statements regarding the

11    outstanding disputes to the Court.

12               As to the parties' post-trial submissions, the

13    Court ordered the parties to file "first-cuts" of the

14    redacted versions within a week of their sealed submissions.

15    Those redacted versions have all been posted to the public

16    docket.   The parties and third parties were ordered to meet

17    and confer to narrow those redactions and submit their

18    outstanding disputes to the Court.

19               Google and several third parties also submitted

20    declarations attesting to the rationale for withholding the

21    claimed confidential information.

22               The Court has exhaustively reviewed all of these

23    filings and has conducted a page-by-page, and in some cases,

24    line-by-line review of every disputed exhibit sought by

25    The Times, as well as the disputed redactions in each
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                                                                             9

1     post-trial filing.      Where necessary, the Court has also

2     carefully compared the redacted versions to the sealed,

3     unredacted records and filings.

4                 The Court applied the following legal principles:

5                 "Courts of this country recognize a general right

6     to inspect and copy public records and documents, including

7     judicial records and documents."       Judicial records carry

8     "a strong presumption in favor of public access."            Any

9     "party seeking to seal such records bears the burden to

10    demonstrate sealing is warranted."

11                But "not all documents filed with courts are

12    judicial records," and even if they are, "the right to

13    inspect and copy judicial records is not absolute."

14    This Circuit takes a "functional approach to judicial

15    records."

16                Whether a document is a "judicial record" depends

17    on "the role the document plays in the adjudicatory

18    process."    "Something 'intended to influence' a Court's

19    pending decision -- such as a party's brief -- is most

20    likely a judicial record, while a document would not qualify

21    if it is one the Court 'made no decisions' about and did not

22    'otherwise rely.'"

23                The Times has taken the position that a trial

24    exhibit, if offered and admitted in its entirety, qualifies

25    as a "judicial record" subject to the presumption of public
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                                                                               10

1     access.   The D.C. Circuit has not resolved this question.

2     But I will restate, as I have said before, that I disagree

3     with The Times' position and, based on the Circuit's

4     "functional approach," do not think that the entirety of a

5     trial exhibit is a "judicial record" merely because such

6     exhibit was presented in its entirety for admission into

7     evidence.

8                 This view is certainly consistent with how the

9     Court directed the parties to prepare for trial and confer

10    with third parties as it relates to confidential

11    information.    The Court has said throughout that the

12    evidentiary record in this case would be the testimony plus

13    those parts of an exhibit actually presented to the Court

14    during trial.    That approach was meant to relieve the

15    parties and third parties of the burden of either heavily

16    redacting or excising pages of irrelevant material before

17    submitting them into evidence.         The Court therefore directed

18    the parties and third parties to focus their confidentiality

19    reviews on those portions of exhibits that would be

20    presented through witnesses during trial.           It was those

21    portions that were meant to influence the Court's

22    decision-making; not the remaining portions of an exhibit.

23                As a much-contested example, the entirety of the

24    challenged contracts in this case were admitted into

25    evidence.    The Times argues that, because these agreements
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1     are at the heart of plaintiffs' allegation of

2     anti-competitive conduct, the entirety of the agreements --

3     regardless of relevance -- should be made public.             The Court

4     does not concur with that view.        It is those contractual

5     provisions that are relevant to allegations and defenses

6     that constitute judicial records, and it is those provisions

7     that receive the presumption in favor of public access.

8                 In any event, the Court's review has not rested

9     merely on the understanding of Circuit precedent and its

10    view of what constitutes a "judicial record."            Rather, the

11    Court has done a document-by-document analysis each of the

12    disputed agreements and emails under the D.C. Circuit's

13    Hubbard test.

14                Hubbard sets forth a six-factor test that courts

15    must use to evaluate whether the presumption in favor of

16    access is "outweighed by competing interests."            Those

17    factors are:    One, the need for public access; two, the

18    extent of prior public access; three, any objections to

19    disclosure and identity of the objector; four, relevant

20    property or privacy interests; five, prejudice to objectors

21    from disclosure; and, six, the record's purpose in the

22    overall proceedings.

23                The first and sixth factors overlap here and,

24    generally speaking, counsel in favor of disclosure.             The

25    need for public access "is at its apex when the government
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                                                                                 12

1     is a party to the litigation.          Indeed, the public has a

2     strong interest in monitoring not only functions of the

3     courts but also the positions that its elected officials and

4     government agencies take in litigation."            What's more,

5     public access is all the more important the closer the

6     proceedings advance to a decision, given the increased

7     likelihood that "the documents at issue will be specifically

8     referred to in the trial judge's public decision."

9                 That said, in undertaking the Hubbard balancing,

10    the Court has not treated all parts of an agreement or email

11    the same.    Portions of records that were presented to the

12    Court at trial or are cited in the parties' post-trial

13    filings have been given greater weight in favor of

14    disclosure.    On the other hand, portions that were not

15    presented at trial and were either not cited, or of marginal

16    relevance to the claims and defenses, have been given less

17    weight because those portions either were not presented to

18    assist the Court in deciding this matter or are unlikely to

19    be reflected in the Court's final decision.               There is little

20    or no need for public access to such portions, because they

21    have little, if any, adjudicatory purpose or contain

22    information that will not shed light on the proceedings.

23                As to the second Hubbard factor, what is left in

24    dispute are those portions of agreements or emails that have

25    not already been made public.          I will note that some of the
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1     portions of the agreements were disclosed in the Epic versus

2     Google case, and those portions have been released already.

3                 As to the third factor, the objectors are either

4     Google or a third party with an interest in the record.

5     When a disputed portion of a record was purely that of a

6     third party, for example, an Apple or Microsoft email, that

7     fact, consistent with Circuit precedent, weighed against

8     public disclosure in the Court's evaluation, except when the

9     communication was dated.      That same is true for records

10    concerning communications exclusively between third parties.

11    Greater weight was given to public access if the disputed

12    portion of the record was purely a Google record or an

13    agreement between Google and a third party.

14                Factors four and five, that is, the privacy and

15    property interests, as well as the prejudice from

16    disclosure, will be addressed on a document-by-document

17    basis.   In weighing these factors, the Court has reviewed

18    and considered each of the declarations submitted by Google

19    and the third parties to justify their confidentiality

20    interest.

21                The Times' motion seeks access to three categories

22    of trial exhibits.      First, The Times aims to unseal the

23    entirety of multiple allegedly anti-competitive contracts

24    between Google and a number of third parties, including

25    Apple, Samsung, AT&T, and Motorola.         Second, it requests
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                                                                              14

1     full access to certain records produced by third-party

2     Microsoft, including emails and contracts to which it is a

3     party.   Third, The Times seeks several records produced by

4     Apple, all of which are email threads involving Apple

5     executives.    The Court discusses each category of documents

6     in turn.

7                 Starting with Joint Exhibit 24, this is JX24,

8     which is the joint cooperation agreement between Apple and

9     Google, dated 2014:

10                The percentage figure and the number of years in

11    paragraph 4 of Section 1 shall remain redacted.            They

12    constitute bespoke contract terms that, if disclosed, could

13    disadvantage Google in negotiation with other partners.

14                The Default Bookmark provision on pages 1 and 2

15    must be disclosed.      The provision would further the public's

16    understanding as to the search access points on Apple

17    devices for which Google pays revenue share, which is core

18    to the plaintiffs' case.      The Court discerns no substantial

19    competitive disadvantage to Google or Apple from disclosure

20    of this provision, at least when weighed against the

21    interest in public access.

22                Sections 2 through 4, with the exception of the

23    first sentence of Section 2, shall remain redacted.             The

24    need for public access is minimal because the provisions

25    have nothing to do with the issues in dispute here, and
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                                                                                15

1     those provisions have not been submitted by the parties for

2     the purposes of influencing the Court.           The first sentence

3     in Section 2 should be disclosed because it has relevance to

4     understanding the nature of the Apple-Google relationship

5     and collaboration.

6                 Joint Exhibit 33 is the 2016 Apple-Google ISA.

7     At the outset, The Times' characterization of what

8     Judge Donato released in the Epic litigation left the Court

9     with the impression that all of the contract was released,

10    but Judge Donato clearly approached the task of public

11    disclosure with a scalpel, as much of the agreement remains

12    nonpublic.

13                In any event, with respect to the parts of that

14    agreement, Section 1(b), 1(c), and 8 should be disclosed.

15    These are the terms that Google has required of Apple to,

16    according to plaintiffs, maintain its monopoly on search.

17    The parties' rationale that their future negotiations would

18    be harmed by disclosure is weaker here in comparison to the

19    strong public interest.        The "substantially similar" clause

20    is not only central to the government's case but also was

21    discussed at trial.

22                Sections 1(d) and 1(e) of these provisions should

23    remain redacted.        They are not relevant to the challenged

24    conduct here and have not been put before the Court.

25                Section 2 should be unredacted.
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                                                                              16

1     This right-of-first-refusal provision is a core term that

2     goes to the heart of the government's theory as to how the

3     alleged conduct is inhibiting competition in the relevant

4     markets.

5                 Sections 3 and 4, these provisions should remain

6     redacted.    They contain bespoke terms, the content of which

7     is clearly harmful to the parties' future negotiating

8     positions, and which have not been previously disclosed in

9     any form.    These sections also contain revenue share

10    percentages and information that would essentially act as a

11    "roadmap" to competitors, in the words of Google's

12    declarant.

13                Section 5 should be disclosed.        Although this

14    detail may not have been disclosed at trial, the incremental

15    information revealed through disclosure will not create

16    sufficient harm to warrant sealing.         The Court notes that

17    Apple has not objected to the disclosure of termination

18    dates for this agreement, diminishing the weight of the

19    third factor.

20                Sections 6 and 10 through 14 should be redacted.

21    These terms are not relevant.

22                The first paragraph of Section 9 should be

23    unredacted because it provides information that may help the

24    public understand Apple and Google's relationship and

25    positions taken in this litigation.         The rest of Section 9
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                                                                               17

1     should be redacted as irrelevant.

2                 Section 7:     The first paragraph of this section

3     should remain redacted, as it contains information that

4     concerns international markets not at issue in this case.

5     So, too, should (ii) in the fifth paragraph, until "in those

6     jurisdictions" for the same reason.          The rest of Section 7

7     should be unredacted.

8                 Joint Exhibit 71, which is JX71, is the 2020

9     Samsung-Google RSA.

10                As a threshold matter, before releasing these

11    exhibits -- this exhibit, the parties shall identify the

12    defined terms in this exhibit and in Joint Exhibits 91 and

13    99 that are used in the portions of the agreements that the

14    Court is ordering be made public.         The definitions should be

15    unredacted.

16                Section 2.2 shall remain redacted.           The Court can

17    discern how this level of detail would create competitive

18    disadvantage for Google if released.          Higher level

19    information of the same kind has been released elsewhere in

20    this record.

21                Section 2.3 shall be unredacted in light of

22    Section 6.1, which covers the same information and is

23    already unredacted.

24                Sections 2.4 and 2.5 shall remain unredacted, as

25    they are not relevant to this litigation.
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                                                                               18

1                 Section 3.3 shall be unredacted -- excuse me,

2     shall be unredacted.      The default settings required under

3     the RSA are the foundation of plaintiffs' case.

4                 Section 6.2, 7.2, and 9.4 are not relevant, and

5     the latter two deal with markets outside the United States.

6                 Section 9.3 shall remain redacted, because this

7     provision could clearly harm Google's competitive standing

8     if it were disclosed.      If released, this provision could

9     create a "roadmap" to Google's negotiating counterparts in

10    future contract discussions.

11                All the redactions on pages 16, 19, and 21 through

12    23 can be kept, as they concern irrelevant and proforma

13    contract terms.

14                The same is true with page 17, which can remain

15    fully redacted except for Section 13.1, which concerns the

16    revenue share paid under the contract, and should be

17    disclosed.    The high-level description of revenue share is

18    unlikely to cause any harm to protected interests.

19                Section 14.1 shall be unredacted.           It contains

20    termination dates, whose disclosure the Court deems

21    necessary for the public to understand plaintiffs' position

22    on the anti-competitive effects of the agreements.              The

23    Court recognizes that there is some prejudice to Google from

24    disclosure of the termination date, but not so much as to

25    outweigh the public right of access.         The remaining
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                                                                                19

1     redactions on page 18 may remain, as those terms are

2     irrelevant.

3                 Section 14.5 should be unredacted because it

4     addresses the parties' obligations in the face of regulatory

5     inquiry and action.        The Court discerns no prejudice from

6     its release.    The remaining redactions on the page may

7     remain, as those terms are irrelevant.

8                 The tailored redactions in the attachments may

9     remain, as they contain revenue share percentages, the

10    disclosure of which could harm Google in RSA negotiations

11    with other third parties.

12                Attachments B-2, D, E, and F all pertain to

13    markets outside of the United States and are not relevant.

14                Joint Exhibit 91, which is JX91, is the 2021

15    Google-AT&T RSA.        The Court reiterates that the defined

16    terms used in those portions ordered disclosed also should

17    be disclosed.

18                Sections 2.5, 3, 4.1, and 4.3 through 5.3, as well

19    as pages 15, 17 through 19, and 21 through 23 shall remain

20    redacted as irrelevant contract terms.

21                Section 7.2 should be unredacted, as it contains

22    the "alternative search service" provision, a key term that,

23    according to plaintiffs, results in anti-competitive

24    effects.    The first sentence of Section 9.1(a) should be

25    unredacted, as it simply acknowledges the payment of revenue
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                                                                              20

1     share under the contract.      The high-level description is

2     unlikely to cause any harm to protected interests.

3                 In Section 10.5, the line "Neither party" that

4     concludes with "discovery processes with respect to this

5     agreement" should be unredacted, as it relates to the

6     parties' obligations in the event of regulatory inquiry, and

7     the Court discerns no prejudice from its release.

8                 As to the attachments, the revenue shares redacted

9     in Attachment A are current and their disclosure could

10    prejudice Google and AT&T if disclosed with respect to

11    negotiations of future revenue sharing agreements.

12                All of Attachment B must be unredacted to allow

13    the public to understand how the MADA works.

14                Attachment C may stay redacted as irrelevant.

15                Attachment D, Section 5, should be unredacted to

16    allow for practical understanding of the effects of the

17    MADA/RSA, although the illustrative example may be withheld,

18    as it would provide a roadmap to the parties' competitors.

19                The code names in Attachment E and elsewhere may

20    be redacted, as their commercial significance is clear.

21                Joint Exhibit 99, this is the 2020 amendment to

22    the Google-Motorola MADA.      Again, the defined terms that

23    appear in the portions that the Court orders unredacted

24    should be unredacted as well.

25                Sections 2.1, 2.3, 2.4, 2.7, and 2.8 should remain
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                                                                                 21

1     redacted, as they contain information about a third party

2     and the parties' obligations under the contract that are not

3     relevant to the issues in this litigation.              The same is true

4     with respect to all of pages 4 and 5.

5                 Section 2.13 and the first paragraph of

6     Section 4.9 should be unredacted, because they are terms

7     relating to RSA-eligible devices -- excuse me, because terms

8     are relating to RSA-eligible devices is central to this

9     litigation.    The subheadings need not be to disclosed

10    because they contain information not relevant to the

11    litigation.

12                The Court now turns to the Microsoft and Apple

13    records.    Those records, with the exception of two

14    contracts, are all emails.      The Times has suggested that the

15    Court has already conveyed its view as to how the Hubbard

16    factors -- as to how Hubbard applies to all emails.               It has

17    not.   The portion of the prior proceeding that The Times

18    quoted was simply an illustration of how the Hubbard factors

19    might apply to different types of records.              It was never

20    meant as a ruling that any and all portions of emails must

21    be made public.

22                The Court, thus, has done a careful review of the

23    information contained in each email, and applied the Hubbard

24    factors to each record to make its rulings.

25                Starting with DX434, this internal email contains
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                                                                                 22

1     Microsoft's internal strategy and thinking concerning the

2     Apple default.    Whatever competitive interests Microsoft may

3     have in the email is substantially diminished by its age of

4     14 years and is outweighed by the first and sixth Hubbard

5     factors.    It should be disclosed.

6                 DX452, this is a third-party document that

7     contains proposed deal terms that Microsoft sought to pitch

8     to Apple.    Whatever competitive interests Microsoft may have

9     in the email is substantially diminished by its age of

10    11 years and is outweighed by the first and sixth Hubbard

11    factors.    It too should be disclosed.

12                DX454, this decade-old email concerns the

13    potential Bing backfill of Siri's web results.              Not only did

14    this deal actually happen and then terminate, but it was

15    discussed in Microsoft CEO Satya Nadella's testimony.                The

16    Court cannot discern the competitive disadvantage to

17    Microsoft of revealing the beginnings of a deal that was

18    effectuated and has concluded.         It should be disclosed.

19                The cover email for DX455, this is an 11-year-old

20    email that contains only two redactions.           The second, on

21    page .002, after "e.g., the" should remain.              It contains

22    third-party confidential information that is not of great

23    relevance to this matter, and the competitive interests are

24    easily discernible by the Court.

25                DX457, this is a decade-plus old email which
     Case 1:20-cv-03010-APM     Document 895   Filed 04/25/24   Page 23 of 45

                                                                                23

1     contains Microsoft's internal thinking about a potential

2     deal with Apple.        As with DX434, this is an internal

3     strategy document of a third party.           Its age, however,

4     diminishes Microsoft's competitive interests relative to the

5     first and sixth Hubbard factors, as the subject matter

6     concerns Microsoft's ability to compete for the Apple

7     default.    It should be disclosed.

8                 DX472, this document should be disclosed in full.

9     The incremental information revealed by lifting these

10    redactions would not harm Microsoft's contemporary

11    competitive interests.

12                The cover email to DX500, this email contains

13    nonpublic information about Microsoft's own finances and

14    projections.    These specific numbers are highly sensitive

15    and could result in competitive disadvantage to Microsoft if

16    disclosed.    The two graphics in this record may be redacted

17    as well.

18                DX524, as similar to DX500, this record contains

19    nonpublic third-party information regarding Microsoft's

20    investments and staffing.        The graphic and numbers of

21    estimated Microsoft Teams, specifically "I'm getting figure

22    per the table below," "e.g., figure Bing versus 6800 G" on

23    page .001 and "Bing Engg Team figure" on page .002 may be

24    redacted.    The estimate of 6800 Google personnel should be

25    unredacted, as it is a projection not based on any sensitive
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                                                                               24

1     data.   And the magnitude estimate in the third paragraph,

2     "5x," should be disclosed because it helps understand the

3     relevant investments of the parties, which sheds light on

4     Google's defense, and the competitive disadvantage to

5     Microsoft from disclosure is not evident.

6                 DX538, this appears to be a detailed list of

7     Microsoft's engineering initiatives and projects, including

8     staffing and specific programmatic plans and outcomes.               This

9     is a third-party -- this is third-party product information

10    that, if disclosed, could be leveraged by a competitor to

11    Microsoft's detriment.      Page 1 and 2 of this email are

12    high-level commentary that may be released.             The rest should

13    remain redacted.

14                DX679, the numbers and figures redacted in this

15    email include proposed and estimated revenue shares that

16    might result from a contracting relationship between Mozilla

17    and Microsoft.    Although they are sensitive, they are

18    projections that go to the heart of Microsoft's ability to

19    compete, which is central to this case.          This record should

20    be disclosed.

21                DX680, this email is from Microsoft's CTO,

22    Kevin Scott, and contains his thoughts about AI and

23    traditional search.      There are sensitive statements in the

24    email concerning Microsoft's business strategies that weigh

25    against disclosure.      That said, there are statements in the
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                                                                              25

1     email that the Court finds, on balance, should be disclosed

2     because they shed light on Google's defense concerning

3     relative investments by Google and Microsoft in search.

4     With those interests in mind, paragraphs 2, which begins

5     with "The thing that's interesting," and, three, which

6     begins with "Turns out," in Scott's email on page .001

7     should be unredacted.      Also, in the first full paragraph on

8     page .002, the sentence starting with "We have very smart ML

9     people," until the end of the paragraph should also be

10    unredacted.    The remaining portions of the email shall

11    remain redacted.

12                DX688, this email is basically a performance

13    review for one employee.      The privacy interests are very

14    strong, and the relevance to this case is minimal, if any.

15    It should not be disclosed.

16                DX963, this is an agreement between Apple and

17    Microsoft that is fully withheld.        Although dated from 2010,

18    the fact that it is between two non-parties weighs in favor

19    of non-disclosure, and releasing the entirety of the

20    agreement is not necessary for the public's understanding.

21    That said, Section 2.5 of the agreement should be disclosed

22    because it was discussed in public testimony at trial.

23                PSX761, this is a settlement agreement between

24    Google and Microsoft.      Only one section of this agreement,

25    Section 6.2, is cited in the parties' post-trial filings
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                                                                               26

1     with respect to the Plaintiff States' SA360 claims.

2     The Times has asserted that the parties' proprietary

3     interests are diminished because there has been some press

4     coverage of this agreement, but its specific terms have not

5     been publicly disclosed.      The Court will require the parties

6     to release the text of Section 6.2 only.

7                 The cover email to UPX246, this is an

8     eight-year-old email that should be disclosed in full.               This

9     email contains two bullet points that summarize the

10    information presented by Microsoft to Apple at a very high

11    level.   Any competitive disadvantage from its disclosure is

12    minimal.

13                UPX301, this email refers to a potential

14    Microsoft-Samsung collaboration.        That was between two third

15    parties.    The mere contemplation of collaboration, without

16    more, is not sufficient to present a risk of competitive

17    harm if disclosed.      The paragraph beginning "Discussion

18    started," however, should be redacted because it could lead

19    to competitive disadvantage given its nature.             The rest of

20    the record should be disclosed.

21                UPX736, this is a six-year-old Microsoft internal

22    email summarizing conversations with Apple.             Mr. Nadella

23    testified about this email in his trial testimony, and this

24    goes to the heart of the case; that is, whether Microsoft is

25    able to compete with Google for the Apple default.
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                                                                              27

1     Everything else -- everything but the last paragraph on

2     page 2415, which begins with "We also," should be disclosed,

3     because that paragraph references non-public strategy

4     between two non-parties that also implicates product

5     interests.

6                 UPX797, this document should remain redacted.

7     It contains descriptions of potential collaborations between

8     two non-parties that could create competitive disadvantage

9     if disclosed.

10                UPX625, the bullets under the heading "Disruptive

11    search," up to and including "revenue opportunity," may be

12    unredacted, as it provides the public with an understanding

13    of Apple's thinking about entering search and competing with

14    Google.   And given the email's age, the competitive harm to

15    Apple is diminished.      The rest of the record pertains to

16    Apple's product and privacy interests and should not be

17    disclosed.

18                UPX626, the last line, "What else would be helpful

19    to discuss how we disrupt Google's Search?" should be

20    unredacted.    The rest should be redacted for the reasons

21    stated with respect to UPX625.

22                UPX618, UPX1123, UPX494, and UPX659, these records

23    are narrowly redacted, and the redactions are justified.

24    They seal confidential business plans and strategies of

25    third parties' product interests and would reveal Apple's
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                                                                               28

1     internal strategy if disclosed.         None of this information is

2     public, and it contains code names and other similarly

3     sensitive commercial information.

4                 So that is the Court's rulings with respect to the

5     various exhibits.       The parties are hereby directed to

6     disclose specific portions of the requested exhibits,

7     including those portions or records that must be

8     re-reviewed, no later than April 30th of 2024, all right?

9                 Now, with respect to the parties' post-trial

10    submissions, we will release those on the docket; they will

11    be in a chart format indicating the specific page number or

12    category of information.

13                Essentially, we've tracked the exhibits and the

14    structure of the exhibits that both the plaintiffs and

15    Google have provided.       We will provide the page number,

16    I think, the objecting party, and the Court's decision,

17    including its reasoning -- a brief summary of the reasoning

18    for its decision.       All of that reasoning should be

19    considered in light of the principles that were articulated

20    here this afternoon in the Court's ruling, okay?

21                So this also will be docketed.         It's not a formal

22    opinion, so I wanted to read it into the record, but it will

23    be useful no doubt in carrying out and executing the Court's

24    order.

25                Okay.   With that, just a couple of housekeeping
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                                                                                29

1     matters in advance of next week's -- well, let me back up

2     before I do that.

3                 Are there any questions about the Court's ruling

4     with respect to The Times' motion and the post-trial

5     submissions?

6                 MR. HERRMANN:     Yes, Your Honor.

7                 THE COURT:     Come on up.

8                 MR. HERRMANN:     Karl Herrmann representing the

9     United States.

10                Your Honor, we have two quick questions.

11                With respect to JX71, 91, and 99, are we correct

12    that the Court --

13                THE COURT:     Hang on one second.

14                MR. HERRMANN:     Apologies.

15                THE COURT:     JX71 and 91.

16                Got you.    I'm there.

17                MR. HERRMANN:     71, 91, and 99.

18                The Court referenced that definitions should be

19    disclosed and that the parties should do that.              Does the

20    Court envision plaintiffs being involved with Google to help

21    ensure that the definitions referenced in the disclosed

22    portions --

23                THE COURT:     And whatever third party's involved --

24                MR. HERRMANN:     Okay.

25                THE COURT:     -- in the agreement.
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                                                                                30

1                 And bottom line is, if there is a definition that

2     is referenced in a disclosed section, the definition also

3     should be disclosed.

4                 MR. HERRMANN:     Thank you, Your Honor.

5                 And the second question we have is, the Court

6     referenced posting a chart online of the disputes in the

7     post-trial submissions.       The Court -- am I correct the

8     Court's not planning on posting the post-trial submissions

9     we submitted with redactions applied?

10                THE COURT:     No.

11                MR. HERRMANN:     The parties will apply those?

12                THE COURT:     I will ask you to apply those

13    redactions.

14                MR. HERRMANN:     Of course.

15                THE COURT:     Or unredact them, as the case may be.

16                MR. HERRMANN:     Thank you, Your Honor.

17                THE COURT:     Mr. Schmidtlein, anything from Google?

18                MR. SCHMIDTLEIN:     As I understand it, Your Honor,

19    we will work with the third parties to implement the

20    exhibits that you have listed here and described for us, and

21    you'd like those done and posted by April 30th?

22                THE COURT:     Correct, next Tuesday.

23                MR. SCHMIDTLEIN:     Okay.

24                In terms of applying the unredactions to all the

25    parties' briefs, is there a date by which we have to
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                                                                               31

1     accomplish that?

2                 THE COURT:     It will also be by next Tuesday.

3                 MR. SCHMIDTLEIN:     By next Tuesday.        Okay.

4     Thank you.

5                 THE COURT:     I mean, the bottom line is -- and let

6     me thank the parties and the third parties for all the work

7     that you've done, I really appreciate it.

8                 All of this was meant to put the public in a

9     position to have maximum access to all of the material

10    that's before me, and that I think otherwise should be

11    disclosed to the public in advance of next week's closings.

12                Okay.   Just a couple of housekeeping things:

13                First, with respect to the oral arguments next

14    week, the Court will be posting a public advisory early next

15    week.   That public advisory will contain various -- will

16    contain information for the media and the public regarding

17    access to the closings, including the fact that we will have

18    a public line, as I indicated in my order last week,

19    connected to the proceedings, as well as designation of

20    overflow courtrooms where the arguments will be broadcast

21    live.

22                I understand the parties are scheduled to come in

23    for a tech setup on May the 1st, time to be decided.              My law

24    clerk will send you an email to confirm, but expect it

25    likely to be at 11:00 a.m.
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                                                                                  32

1                 Hyperlinked briefs.          I am having issues with the

2     Plaintiff States' briefs and Google's briefs and having the

3     hyperlinks work.        I click on the links and it's not clear to

4     me why the exhibits are not -- corresponding exhibits are

5     not coming up.    We have both tried it on the flash drive

6     that we've received from the parties.             We also took that

7     flash drive and uploaded it onto our system, and we aren't

8     able to get the hyperlinked briefs on either.                And so our IT

9     has concluded it's not us, it's you.             So I'll ask you all to

10    just work with my law clerk and IT to rectify that issue.

11                Finally, let me just ask the parties if you all

12    have any thoughts or reactions to the order with respect to

13    closings.    I'm happy to hear if you have suggestions,

14    requests, modifications, or just don't like the whole thing

15    as it is.

16                MR. DINTZER:      Thank you, Your Honor.          Very minor.

17                We perceive, especially in the second day, some

18    overlap between the two topics regarding market power and

19    the prima facie case.        And so, I mean, we understand the

20    Court is drawing lines there and we wanted to -- there might

21    be some overlap when we do that.            We wanted to put the Court

22    on notice.

23                THE COURT:      Sure.   I understand.

24                MR. DINTZER:      I believe the Court had asked who

25    will be arguing, and I don't know if we could just let the
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                                                                                 33

1     Court know that --

2                 THE COURT:     We don't need to know that today.

3     It's mainly for our court reporter so he knows who will be.

4                 MR. DINTZER:     Thank you, Your Honor.

5                 This is on the tech issue.

6                 Will the Court be providing a Zoom link for

7     counsel of record as it did for trial?            I understand the

8     public access, but there may be people on our team or the

9     States' team who are not local, and can we have a Zoom link

10    for that?

11                THE COURT:     Yes.

12                MR. DINTZER:     Okay.      Thank you, Your Honor.

13                THE COURT:     Mr. Schmidtlein.

14                I'm sorry, Mr. Sallet, I should have, but

15    Mr. Schmidtlein is up here.       I'll turn to you in a second,

16    Mr. Sallet.

17                Mr. Schmidtlein.

18                MR. SALLET:     Of course, Your Honor.

19                Just very briefly, apologies for the broken

20    hyperlinks.    We'll fix them as quickly as possible.

21                I just want to align myself with Mr. Dintzer's

22    statement.    The way the argumentation goes, there will be

23    inevitable overlap of issues, even if the application is

24    different on day 2 than day 1.           Unlike the Department of

25    Justice, we note, but we'll work to minimize that overlap.
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                                                                               34

1                 THE COURT:     All right.    Thank you.

2                 If it's not evident, perhaps it should have been.

3     I didn't mean to suggest all of these parts of the argument

4     would be sort of hermetically sealed from the other.              I just

5     wanted to give this some structure that will allow you to

6     all to prepare in a way -- and also it's presented in a way

7     that I can more easily digest what is a mountain of

8     information.

9                 And the second day's timing reflects, I think --

10    I've tried to reflect the fact that there are multiple

11    advertising markets, which is why the time is allocated

12    differently on day 2 than day 3 with respect to the first

13    two portions of the argument.

14                MR. SALLET:     Thank you, Your Honor.

15                MR. SCHMIDTLEIN:     That's fine, Your Honor.

16                As I said, I think there's going to be -- there's

17    going to be some amount of overlap amongst these.

18                We understand that, or at least I'm interpreting

19    the Court's reference to -- on the second day, 2e., is

20    that's the time that you want to hear about SA360?

21                THE COURT:     Yes, and your duty-to-deal argument.

22                MR. SCHMIDTLEIN:     And you're not anticipating us

23    discussing SA360 in any other part of the -- any other part

24    of the day?

25                THE COURT:     No, we don't think so.
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                                                                                35

1                 MR. SCHMIDTLEIN:      When we talk about prima facie

2     case for the second day and anti-competitive effect,

3     obviously Your Honor is aware the plaintiffs in these cases,

4     again, putting SA360 to the side, there has been no alleged

5     exclusionary conduct that is specific to ads.

6                 In other words --

7                 THE COURT:      Right.

8                 MR. SCHMIDTLEIN:      -- they haven't alleged that --

9     the way we've designed our advertising auctions or anything

10    like that.    It's the same conduct --

11                THE COURT:      Right.

12                MR. SCHMIDTLEIN:      -- for search as for search ads.

13                THE COURT:      Right.

14                MR. SCHMIDTLEIN:      And so we'll try not to do too

15    much overlap of that but just wanted to recognize that.

16                THE COURT:      I realize that.

17                But as you know, the arguments are different and

18    the claimed effects on the ad markets are different, and so

19    that's why I did it the way I did it.

20                I will say this:      Do not be worried about being

21    repetitive.    I mean, over repetition may be a problem, but,

22    given the amount of information that I'm trying to digest,

23    what I'm hoping these arguments will do is really hone in on

24    what the most important aspects of your arguments are and

25    the evidence is.        And so if there's a need to emphasize
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                                                                                36

1     points, that's fine, that's okay.

2                 MR. SCHMIDTLEIN:       Thank you.

3                 THE COURT:     All right.     Anything else, Counsel?

4                 MR. DINTZER:     Not from the DOJ plaintiffs,

5     Your Honor.

6                 THE COURT:     Mr. Sallet.

7                 MR. SALLET:     No, Your Honor.

8                 THE COURT:     Okay.

9                 Mr. Schmidtlein.

10                MR. SCHMIDTLEIN:       No, Your Honor.

11                As I said, we also have -- we submitted the links,

12    the hyperlinks in the same manner that we submitted them

13    before, so we'll figure out what the problem is and get

14    solved as quickly as possible.

15                THE COURT:     Okay.    Appreciate it.

16                Thank you, everybody.       We'll see you next week.

17                COURTROOM DEPUTY:       All rise.    This Honorable Court

18    is now adjourned.

19                (Proceedings concluded at 3:58 p.m.)

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                                                                         37

                         C E R T I F I C A T E
                  I, William P. Zaremba, RMR, CRR, certify that
 the foregoing is a correct transcript from the record of
 proceedings in the above-titled matter.




 Date:__April 25, 2024_______ ____________________________
                                    William P. Zaremba, RMR, CRR
                                                                                                                             38

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